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Mod AO 442 (09/13) Arrest Warrant   AUSA Name & Telno: Thane Rehn, 212-637-2354


                                        UNITED STATES DISTRICT COURT
                                                               for the
                                                 Southern District ofNew York

                  United States of America
                             v.                                  )
                       BRUCE BAGLEY                              )        Case No.
                                                                 )
                                                                 )
                                                                 )
                                                                 )
                            Defendant

                                                   ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without mmecessary delay
(name of person to be arrested)
                                  - BRUCE
                                     - -- BAGLEY
                                             - -- - --- - - -- - - - - -- - -- - - - -
                                                                                     �
who is accused of an offense or violation based on the following document filed with the court:

r.J Indictment           0 Superseding Indictment       0 Information        0 Superseding Information                   O Complaint
0 Probation Violation Petition           0 Supervised Release Violation Petition             □ Violation Notice          O Order of the Court

This offense is briefly described as follows:
  Conspiracy to commit money laundering, 18 U.S.C. § 1956(h), Money laundering, 18 U.S.C. § 1956(a)(3)(B) and 2




                                                                      \ ,r f;wL
                                                                             .·. . �_
Date: - - -
          10/24/2019
             ----    -
                                                                     �+4-/.                  �__,..,.--
                                                                                                     ·�
                                                                                   fss,u,lng officer's signature
                                                                                                                 - - -
                                                                                                                     -
                                                                                         \                 '


City and state:       New York, New York                                       Debra Freeman, U.S. Magistrate Judge
                                                                                                Pri;1tedname and title
                                                                                 '   .
�-------------------------'"--! ,-;__--\--'-'---------------,
                                                              Return

           This warrant was received on (date)   -----        -
                                                              -      , and the person was arrested on (date)
at (city and state)

Date: - - - - - - -
                  -
                                                                                             Arresting officer's signature



                                                                                                Printed name and title
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                                                              Nov 18, 2019

                                                                         Miami
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